           Case 2:16-cv-05088-JP Document 63 Filed 11/20/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________
                                         :
JOHN DOE                                 :
                                         :
                        Plaintiff,       :  CIVIL ACTION NO: 16-cv-05088
                                         :
                  v.                     :  JURY TRIAL DEMANDED
                                         :
THE TRUSTEES OF THE                      :
UNIVERSITY OF PENNSYLVANIA,              :
                                         :
                        Defendant.       :
________________________________________ :

        JOINT MOTION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)

       Plaintiff, John Doe, and Defendant, the University of Pennsylvania, collectively “the

Parties,” jointly move for dismissal of the above-captioned action with prejudice and without

costs pursuant to Federal Rule of Civil Procedure 41(a).

       The Parties consent to the filing of this Motion and join in respectfully requesting that the

Court enter the Proposed Order attached hereto as Exhibit A.

                                                     Respectfully Submitted,



/s/ Patricia M. Hamill                              /s/ James A. Keller
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                                                    University of Pennsylvania

                                                    Attorneys for Defendant
DATED:         November 20, 2017
          Case 2:16-cv-05088-JP Document 63 Filed 11/20/17 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served today

by operation of the Court’s ECF filing system upon:

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DATED:        November 20, 2017
